Revised 05/08

                                                    United States Bankruptcy Court
                                                          Eastern District of Michigan
                Aaron Mohlman
 In re          Charlotte S Dobessi-Bossombo                                                                  Case No.
                                                                            Debtor(s)                         Chapter        13


                                                 BANKRUPTCY PETITION COVER SHEET

(The debtor must complete and file this form with the petition in every bankruptcy case. Instead of filling in the boxes on the petition requiring
information on prior and pending cases, the debtor may refer to this form.)
                                                                          Part 1
"Companion cases," as defined in L.B.R. 1073-1(b), are cases involving any of the following: (1) The same debtor; (2) A corporation and any
majority shareholder thereof; (3) Affiliated corporations; (4) A partnership and any of its general partners; (5) An individual and his or her general
partner; (6) An individual and his or her spouse; or (7) Individuals or entities with any substantial identity of financial interest or assets.
Has a "companion case" to this case ever been filed at any time in this district or any other district? Yes      No X
(If yes, complete Part 2.)
                                                                         Part 2
For each companion case, state in chronological order of cases: (Attach supplemental sheets if necessary.)
                           First Case                             Second Case                            Third Case
 Name on petition
 Relationship to this case
 Case Number
 Chapter
 Date filed
 District
 Division
 Judge
 Status/Disposition

(Pending, confirmed & still open, confirmed & closed, dismissed before/after confirmation, discharged, etc.)
If the present case is a Chapter 13 case, state for each companion case:
 Attorney
 Legal fee              $                                         $                                                      $
 Proposed legal fee in this case     $                      3500
Changes in circumstances which lead the debtor to reasonably believe that the current plan will be successful.




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                                                        Part 3 - In a Chapter 13 Case Only
The Debtor(s) certify, re: 11 U.S.C. § 1328(f):
    [indicate which]
              Debtor(s) received a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
              Debtor(s) did not receive a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
              Debtor(s) received a discharge in a Chapter 13 case filed during the 2-years before filing this case.
              Debtor(s) did not receive a discharge in a Chapter 13 case filed during the 2-years before filing this case.

I declare under penalty of perjury that I have read this form and that it is true and correct to the best of my information and belief.
                                                       /s/ Charlotte S
 /s/ Aaron Mohlman                                     Dobessi-Bossombo                                       /s/ Jeffrey David Thav
 Aaron Mohlman                                         Charlotte S Dobessi-Bossombo                           Jeffrey David Thav P63126
 Debtor                                                Debtor                                                 Debtor's Attorney

 Date:      August 10, 2022                                                                                   Thav Law Office, P.L.L.C.
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